UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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OLIVERTO RODRIGUEZ,
: Index No.: 1:14-cv-8237
Plaintiff, : ECF CASE

-against-
PIZZA PASTA ETC. CORP., d/b/a
FAMOUS AMADEUS PIZZA, and
AMADEUS MANATA,

Defendants.

 

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STIPULATION OF SETTLEMENT

This Settlement Agreement and Release of Claims (hereinafter “Agreement”) is
made and entered into by and between plaintiff Oliverto Rodriguez, and defendants Pizza Pasta
Etc. Corp., d/b/a Famous Amadeus Pizza, and Amadeus Manata (collectively, the “Defendants”’)
on behalf of Defendants and their agents, assigns, attorneys, heirs, affiliates, parents, successors,
predecessors, executors and administrators.

WHEREAS, the plaintiff filed, in the United States District Court for the
Southern District of New York, a Complaint in an action entitled, Oliverto Rodriguez v. Pizza
Pasta Etc. Corp., d/bla Famous Amadeus Pizza, and Amadeus Manata, 1:14-cv-8237 (the
“Action”); and

WHEREAS, the parties desire to fully and finally resolve and settle in full all
claims that plaintiff had, has, or may have against the Defendants, including, but not limited to,

all claims and issues that were or could have been raised in the Action;
NOW, THEREFORE, plaintiff and Defendants, in consideration of the mutual
promises and covenants set forth herein, the receipt and sufficiency of which is hereby
acknowledged, agree as follows:

1. No Admission of Liability: By entering into this Agreement, Defendants do
not in any way admit liability or wrongdoing toward plaintiff or anyone else, either implicitly or
explicitly. Neither this Agreement nor anything contained herein constitutes or is intended to
constitute any finding of fact, admission of liability or assessment of liability by Defendants
under any law, ordinance, rule, regulation or order with respect to any claim that plaintiff could
have asserted or may assert against the defendants. Defendants have agreed to enter into this
Agreement for the sole purpose of avoiding the cost and inconvenience of further litigation.

2. Consideration:

a. In consideration for plaintiff entering into this Agreement and in full and
complete satisfaction of plaintiff's actual and potential claims against the Defendants, the
Defendants shall distribute the settlement amount of $7,500 (“Settlement Amount”) as set forth
below.

b. Plaintiff shall execute and, through counsel, submit to counsel for the
Defendants a completed copy of Tax Form W-9 on a later date before the end of tax year 2015.

c. Defendants shall send plaintiff a settlement check in the amount of
$2,366.67, less all applicable payroll taxes and withholdings, immediately upon execution of this

Agreement (the “Effective Date”).
d. Defendants shall send counsel for plaintiff a check made out to Pechman
Law Group PLLC in the amount of $1,383.34, representing attorneys’ fees and costs, on the
Effective Date.

e. Defendants shall send plaintiff a settlement check in the amount of
$2,366.66, less all applicable payroll taxes and withholdings, within thirty (30) days of the
Effective Date.

f. The defendants shall send counsel for plaintiff a check made out to
Pechman Law Group PLLC in the amount of $1,383.33, representing attorneys’ fees and costs,
within thirty (30) days of the Effective Date.

3. Full Payment: Plaintiff agrees and affirms that the payments described in
Paragraph 2 above shall constitute the entire amount of monetary consideration provided to
plaintiff and his legal counsel under this Agreement and that neither he nor his legal counsel will
seek any further compensation for any other claimed damages, costs, disbursements, or
attorneys’ fees in connection with any of the matters encompassed in this Agreement. It is
further understood and agreed that, with the exception of the payment described in Section 2 of
this Agreement, the Parties shall be solely, individually, and completely responsible for
compensating their own attorneys for all services rendered and expenses incurred in this matter,
and that no award of attorney’s fees or costs will be triggered or result from this Agreement or
otherwise from the settlement of this matter. Plaintiff will not be deemed or considered a
prevailing party. Notwithstanding the foregoing, if Defendants fail to make payments as set

forth in Section 2, Defendants shall be responsible for all expenses, including but not limited to
legal fees, costs, and pre- and post-judgment interests at the rate of 9% per year, incurred by
plaintiff in connection with the enforcement of this Agreement.

4. Approval of Agreement: Upon reaching Agreement in principle on this
settlement agreement by all parties, counsel shall submit to the Court, for its review, a copy of
this Agreement and request that the Court approve and So Order the Agreement and retain
jurisdiction over the Agreement until all payments set forth in Section 2 have been received in
full. The Agreement shall constitute full and final settlement of any and all claims by the
Plaintiff against the defendants as of the date of Court approval of the parties’ Stipulation of
Settlement.

5. Voluntary Dismissal with Prejudice: Within 10 days of the Effective Date,
counsel for plaintiff shall file with the Court a Stipulation of Dismissal With Prejudice, subject to
the Court’s retention of jurisdiction over compliance with the terms of the Agreement.

6. General Release: It is understood and agreed by and between the Parties to
this Agreement that in return for the consideration set forth in Paragraph 2 of this Agreement and
the other promises contained herein, Plaintiff does, knowingly and voluntarily, completely and
forever release, waive and discharge Defendants, Arrancada Food Group, Inc., 90 Amster
Enterprises, LLC, Famous Amadeus Pizza, Rays at the Garden, Inc., each of their parent
organizations, predecessors, successors and assigns, and all past and present officers, directors,
employees, agents, representatives, privies, attorneys, associates (collectively the “Releasees”)
from any and all causes of action, claims, judgments, obligations, damages (compensatory,
punitive, and otherwise), claims to attorneys’ fees, and rights to pre- or post-judgment interest or
liabilities of whatever kind and character including, in particular, but not limited to, any and all

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claims which were made or could have been made in the Action. Plaintiff agrees that this release
of claims is intended to be broadly construed so as to resolve any pending and potential disputes
between Plaintiff and the Releasees, which Plaintiff has up to the date of this Agreement,
whether or not such disputes are known or unknown to Plaintiff, including, but not limited to:
any claims that Plaintiff or anyone on Plaintiffs behalf may have arising under the Age
Discrimination in Employment Act (29 U.S.C. § 621 et seq.), Title VII of the Civil Rights Act of
1964 as amended (42 U.S.C. § 2000e, et seq.), the Equal Pay Act of 1963 (29 U.S.C. § 206(d)),
the Civil Rights Acts of 1866 and 1871 as amended (42 U.S.C. § 1981, et seq., 42 U.S.C. § 1983,
et seq.), the Worker Adjustment and Retraining Notification Act (29 U.S.C. § 2101, et seq.), the
Employee Retirement Income Security Act (29 U.S.C. § 1001, et seq.), the Americans with
Disabilities Act (42 U.S. § 12101, et seq.), the Occupational Safety and Health Act (29 U.S.C. §
651, et seq.), the Family and Medical Leave Act (29 U.S.C. § 2601, et seq.), the Consolidated
Omnibus Budget Reconciliation Act (commonly referred to as “COBRA”), the New York State
Human Rights Law, the New York City Human Rights Law, the New York Labor Law, the Fair
Labor Standards Act or any other federal, state or local human rights, civil rights, wage and hour,
employment or labor law, rule and/or regulation, public policy, contract, or tort law, or any claim
of retaliation under such laws and any claim arising under the common law, including but not
limited to causes of action for wrongful discharge, violation of public policy, retaliation, breach
of contract (both express and implied), fraud, defamation, libel, slander, false light, tortious
interference with contract or prospective economic advantage, infliction of emotional distress
(both negligent and intentional), whistleblower retaliation, hostile work environment, personal

injury, assault, battery, prima facie tort, violation of any other federal, state or local statute, law

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or ordinance, claims for loss of income, compensatory damages, economic damages, emotional
distress damages, non-economic damages, pain and suffering damages, liquidated damages,
punitive damages, exemplary damages, equitable relief, attorneys’ fees and costs, and any other
action whether cognizable in law or in equity based on any conduct up to and including the date
of this Agreement. Plaintiff further agrees that Plaintiff has not filed or made any allegations
against or relating to the Releasees in any other matter in any court, agency or tribunal other than
the Action. This Release shall not apply to any claims with the New York State Unemployment
Insurance Board relating to claims for unemployment accrued based on plaintiff's employment
with Defendants.

The Parties acknowledge that this Agreement does not limit either party’s right, where
applicable to file a charge or participate in an investigative proceeding of any federal, state or
local agency. To the extent permitted by law, Plaintiff agrees that if such administrative claim is
made, Plaintiff shall not be entitled to any personal recovery, including, but not limited to, any
individual monetary relief or other individual remedies, including, but not limited to, backpay,
reinstatement, front pay, damages or attorneys’ fees.

7. Confidentiality: Notwithstanding the following, nothing contained herein,
shall prohibit the Court from publicly filing this Agreement. Plaintiff represents that neither he
nor his counsel has disclosed or shall disclose, directly or indirectly, the terms, existence or
circumstances of this Agreement to anyone. Plaintiff agrees to keep this Agreement, its terms,
existence and circumstances strictly confidential, and shal! not tell anyone about the existence of
this Agreement or disclose any information contained herein, except that he may disclose such

information to his immediate family, lawyer, financial advisor, and/or as required by law. If

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such disclosure is made, plaintiff shall immediately instruct the person to whom the disclosure is
made that the information disclosed must be kept strictly confidential. Further, if asked by third
parties about any dispute with Defendants, including but not limited to the Action, plaintiff shall
state only that the matter was resolved and that she is not at liberty to discuss it further.

8. Applicable Law: This Agreement shall be governed by, interpreted,
construed and enforced in accordance with the laws of the State of New York.

9.  Enforceability and Severability: If any provision of this Agreement is held
by a court of competent jurisdiction to be illegal or unenforceable, or struck by the Court in
reviewing this Settlement Agreement in its proposed form, such provision shall be severed from
this Agreement and have no force and effect. However, the illegality or unenforceability of such
provision shall have no effect upon, and shall not impair the enforceability of, any other
provision of this Agreement. Notwithstanding the foregoing, if Section 6, the Release, or
Section 2, Consideration, is held to be illegal or unenforceable, or struck by the Court in
reviewing this Settlement Agreement in its proposed form, this Agreement shall be rendered void
and the payments referred to in Section 2 shall be returned to the Defendants immediately.

10. Interpretation of Agreement: The parties agree that any person or entity
interpreting or construing this Agreement shall not apply a presumption that any of its provisions
should be more strictly construed against the party who prepared the Agreement as all parties
have fully participated in the preparation of all provisions of this Agreement.

11. Headings: The headings in this Agreement are for the convenience of the

parties and are not intended to modify the terms of the Agreement.
12. Complete Agreement: This Agreement sets forth the entire agreement
between the parties, and fully supersedes any and all prior or contemporaneous agreements or
understandings between them. This Agreement may not be altered, amended, modified,
superseded, canceled or terminated except by an express written agreement duly executed by all
parties, or their attorneys on their behalf, which makes specific reference to this Agreement.

13. Counterparts: This Agreement may be executed in several counterparts,
each of which shall serve as an original as against any party who signed it, and all of which taken
together shall constitute one and the same document. A copy of a party’s signature on this
Agreement shall be acceptable in any action against that party to enforce this Agreement.

14. Employee Acknowledgements. By signing this agreement, plaintiff
acknowledges as follows:
Plaintiff has read this Agreement completely.
Plaintiff has had the opportunity to consider the terms of this Agreement.
Plaintiff has consulted with his attorney prior to executing this Agreement.
Plaintiff understands and means everything that Plaintiff said in this Agreement
and Plaintiff agrees to all its terms.
€. Plaintiff is not relying on any of the Releasees to explain this Agreement to

Plaintiff.

f. Plaintiff is aware that this agreement includes a general release of all known and
unknown claims.

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WHEREFORE, the undersigned subscribe to this Agreement, as it applies to each, as of

the date(s) set forth below opposite their respective signatures.

Dated: jung [S/za it audi

Oliverto Rodriguez

 

Dated:

 

 
Pizza Pasta Etc. Corp.

Dated: Ge lags”

 

So Ordered:
U.S.M.J. Debra Freeman

 
